        Case 3:21-md-02981-JD          Document 1083          Filed 07/01/25     Page 1 of 1



                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA

                                     RELATED CASE ORDER


       An Administrative Motion to Consider Whether Cases Should Be Related (Civil L.R. 3-
12) was filed in Case No. 20-cv-05671-JD. The time for filing an opposition or statement of
support has passed. As the judge assigned to case:

        21-md-02981-JD
        In re Google Play Store Antitrust Litigation

       I find that the more recently filed case that I have initialed below is related to the case
assigned to me. The case will be reassigned to me and made a member case in In re Google Play
Store Antitrust Litigation, No. 21-md-02981-JD.

 Case                        Title                                 Related       Not Related
 25-cv-04686-AMO             Korean Publishers Association et      JD
                             al. v. Google LLC et al.


                                             ORDER

         The parties are instructed that all future filings in any reassigned case are to bear the
initials of the newly assigned judge immediately after the case number. Any case management
conference in any reassigned case will be rescheduled by the Court. The parties shall adjust the
dates for the conference, disclosures and report required by FRCivP 16 and 26 accordingly.
Unless otherwise ordered, any dates for hearing noticed motions are vacated and must be re-
noticed by the moving party before the newly assigned judge; any deadlines set by the ADR Local
Rules remain in effect; and any deadlines established in a case management order continue to
govern, except dates for appearance in court, which will be rescheduled by the newly assigned
judge.


Dated: July 1, 2025
                                                 By:
                                                       James Donato
                                                       United States District Judge
